Case 2:18-cV-10582-L.]I\/|-DRG ECF No. 1 filed 02/20/18 Page|D.l Page 1 of 24

UNITED sTATEs DISTRICT coURT
IN THE EASTERN DIsTRIcT oF MchIGAN
ARRICKA SCoTT,

Plaintiff, Case No. 18-105 82
Vs. Honorable

U.S. AUTO SALES INC. and CREDIT

 

 

ACCEPTANCE CORPORATION,

Defendants.
Adam G. Taub Stephen W. King (P56456)
ADAM G. TAUB & AsSoCIATEs KING AND MURRAY PLLC
CoNsUMER LAW GROUP, PLC Attorneys for Defendant Credit
Attorneys for Arricka Scott Acceptance Corporation
17200 W. Ten Mile Rd., Ste. 200 355 S. Old Woodward, Suite 100
Southfield, MI 48075 Birmingham, MI 48009
(248) 746-3790 (248) 792-2398
adamgtaub@clgplc.net sking@kingandmurray.com

NOTICE OF REMOVAL

 

Defendant Credit Acceptance Corporation (“Credit Acceptance”), by
counsel, and pursuant to 28 U.S.C. §§ 1441 and 1446, hereby removes the above-
entitled action, Which is currently pending in the 17th District Court in Redford
Township, Michigan, and states as follows:

Bac round
1. On or about January 9, 2018, Plaintiff Arricka Scott (“Plaintiff”)

commenced an action against Credit Acceptance in the 17th District Court in

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Township, Michigan, by Hling a Complaint, alleging a variety of claims against
Credit Acceptance including, Without limitation, alleged violations of the Truth in
Lending Act, 15 U.S. Code § 1601, et seq. (“TILA”) and Equal Credit Opportunity
Act, 15 U.S.C. § 1691, et seq. (“ECOA”).

2. The Complaint constitutes “all process, pleadings and orders served
upon” Credit Acceptance in this action to date. 28 U.S.C. § 1446(a). See Exhibit A.
Timeliness of Removal

3. Credit Acceptance received notice of this action through the purported
service of the Complaint on January 26, 2018. Therefore, this notice of removal is
timely under 28 U.S.C. § l446(b) because less than 30 days have passed since Credit
Acceptance received a copy of the Complaint.

Removal Jurisdiction

4. This action is properly removable under 28 U.S.C. § 1441 because this
Court has original jurisdiction of this case under 28 U.S.C. § 1331, which provides
in pertinent part: “[t]he district courts shall have original jurisdiction of all civil
actions arising under the Constitution, laws, or treaties of the United States.” 28
U.S.C. § 1331. Specifically, Plaintiff alleges, among other things, that Credit

Acceptance violated the TILA and ECOA. See Exhibit A.

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5. Accordingly, this is a civil action “arising under the Constitution, laws,
or treaties of the United States” pursuant to 28 U.S.C. § 1331, and removal is
appropriate pursuant to 28 U.S.C. §§ 1441, 1446.

6. Removal to this Court is proper as the United States District Court for
the Eastern District of Michigan embraces Redford Township, Michigan, Where the
state court action was filed.

Notice to State Court and Plaintiff

7. Pursuant to 28 U.S.C. § l446(d), Credit Acceptance is promptly
providing Written notice of this removal to Plaintiff and Will immediately file a copy
of this Notice of Removal With the Clerk of the 17th District Court.

§21_!$_€11_¢

8. Upon information and belief, Defendant U.S. Auto Sales, Inc. has not
been served With the Sumrnons and Complaint, and therefore, obtaining consent is
not possible at this time.

WHEREFORE, Defendant Credit Acceptance Corporation respectfully
requests that the above-entitled action be removed from the 17th District Court to this

Court.

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KJNG AND MURRAY PLLC

By: /s/Stevhen W. King
Stephen W. King (P56456)
KING AND MURRAY, PLLC
355 South Old Woodward, Suite 100
Birmingham, Michigan 48009
Tel: (248) 792-2398
sking@kingandrnurray.com

Attorneysfor Defendant Credit
Acceptance Corporation

Dated: February 20, 2018

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CERTIFICATE OF SERVICE

Stephen W. King, an attorney, certifies that on February 20, 2018, he
clectronically filed the foregoing Notice of Removal With the Clerk of the Court
using the CM/ECF system and served a copy of same via First-Class Mail, proper
postage prepaid, on counsel for Plaintiff Arricka Scott.

/S/ Stephen W. Kin,q

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EXH|B|T

A

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Original - Court 2nd copy - Plaintiff
Approved. SCAO `4 1st copy - Defendant 3rd copy - Reiium
STATE OF MlCHlGAN CASE NO.
17th ' ' JUD|CIAL DiSTRlCT

COUNTY PROBATE

 

 

Jumcm_ umw summons mo coMPLAlNT _ l 8 7 22[05 66

 

Court address
15111 seem Daly act, nedrord charter Twp-, M:r 48239

 

Plaintist name(s), address(es), and telephone no(s].
Anicka Scott
cio her attorney

 

Plain‘tiff'e attomey. bar no.. address. and telephone no.
Adam G. Taub (P48703)

17200 W. 10 MileRd., Ste. 200

SouthEold, MI 480'75

248-746-3790

 

 

 

court telephone no.
313-387~2790

Defendant's name(sj. address(es), and telephoneE(s).
CREDIT ACCEPTANCE CORP OR.ATION

 

v clc CSC - lawyers Incorporating Service (Compa.ny)
601 Abbot Road
East Lansing, M] 48 823

 

 

 

NOT|CE TO THE DEFENDANT: in the name of the people of the State of Michigan you are notihed: l

1. You are being sued.

l
l

2. YOU HAVE 21 DAYS after receiving this summons to file a written answer with the court and serve a copy on the other
party or take other lawful action with the court (28 days if you were served by mail or you were served outside this state).
3. if you do not answer or take other action within the time ailowed, judgment may be entered against you for the relief

demanded in the complaint

ll

 

 

 

lssued |__18 __{K This FTETF? g

 

Court dl

 

 

v
Family Division Cases (The following ls information required in the captin every complaint and is to be completed by the plaintiff.)
l:l This case involves a minor who is under the continuing jurisdiction of another Michigan court. The name of the court. tile

number, and details are on page

 

of the attached complaint

l:l There is no other pending or resolved action within the jurisdiction of the family division of circuit court involving the family

or family members of the parties.

[:l An action within the jurisdiction of the family division of the circuit court involving the family or family members of the parties

has been previously riled in

Court.

 

The action l:l remains |:l is no longer pending. The docket number and the judge assigned to the action are:

 

Docket no. Judge

 

 

Bar no.

 

 

Civil Cases (The following is information required in the caption of every complaint end is to be completed by the plaintiff.)
l:l This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
E| There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the

complaint

i:l Acivil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint l

has been previously filed in

 

Court. l

The action l:l remains i:l is no longer pending. The docket number and the judge assigned to the action are:

 

Docliet no. Judge

 

 

Bar no.

 

PiaimrTr(s) residence (include cny. rownship. or viiiage}

Defendant(sj residence (|nc|uda city. tamiahip. oMage)

 

 

 

Canton, MI East Lansing, MI
Place where action arose or business conducted _
Redford, MI ij k
te Sl&aé §o;éylplaié U ll "

 

lf you require special accommodations to use the court because of a disability or if you require a foreign language interpreter to
help you fully participate in court proceedingsl please contact the court immediately to make arrangements

nrc 01 (sri 1) SUMMONS AND CDMPLA|NT McR 2.102(s)(11), McR 2.104, non 2.105. McR 2.107. McR 2.113¢c)(2)(a), (b), McR 3.2cs(A)

 

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Note to PlaintifT: The summons is invalid unless suMMoNS AND coMpLAlNT

served on or before ita expiration date.
PRooF oF sERvicE ease N°-

TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the order for second summons. You must make and file your return with the court clerk. if you are unable to
complete service you must return this original and all copies to.the court clerk.

 

 

 

 

|'cERTiFrcATE.' AFFiDAvrT oF sEercE l NoNsERvicE|

 

l:l OFFICER CERTIF|CATE OR l:l AFF|DAV|T OF PROCESS SERVER
| certify that | am a sheriff, deputy sheriff. bailiff. appointed Being first duly sworn, | state that | am a legally competent
court officer, or attorney for a party (MCR 2.104[A][2])l adult who is not a party or an officer of a corporate party.'
and thet: (nowrizarion nor required) and that: (ncranzauon required)

 

 

 

l:| l served personally a copy ofthe summons and complaint
l:l l served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaintl
together with

 

List all documents served with the Summons and Complaint

 

 

on the defendant(s):

 

Defendant's name complete eddress{es) of service Day, date. time

 

 

 

 

 

 

 

l:l l have personally attempted to serve the summons and complaint, togetherwlth any attachments, on the following defendant(s)
and have been unable to complete service.
Defendant‘s name Complet address(esW service Day, date. time

 

 

 

 

 

 

 

l declare that the statements above are true to the best of my inforrnation. knowledge, and beiief.

 

 

 

 

 

 

 

 

 

 

 

 

service fee Miies traveled 4Feva signature
$ |$
incorrect address fee Miles traveled Fee TDTAL FEE Name owe °r pmm
$ - |$ 5 .

' Tltle
Subscribed and sworn to before me on Date , County, Michigan.
My commission expires-____________ Signature:

Date Deputy court cierklNotary public

Notary publicl State of Michigan, County o_f

 

 

[ACKNOWLEDGMENT OF SERV|CE l
l acknowledge that l have received service of the summons and complaintl together with

 

 

A'dechments

 

n Dly, date, time
on behalf of

 

 

S|gnature

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'T

STA'IE OF MICI-]IGAN
17TH DISTRICT COURT
\-\
ARRICKA SCOTT,
Plaintiff,
-vs- Case No.
Hon.

U.S. AUTO SALES INC., and
CR.EDII` ACCEPTANCE CORPORATION,

Defendants.
COM]’LAINT

_.1 § BISDICTIQ§

1. The amount in controversy is less than $10,000.00.
him
2. The Plaintiff to this lawsuit is Arricka Scott who resides in Canton, Michigan in Wayne
County.
3. The Defendants to this lawsuit arc as follows:

a. US Auto Sales lnc (“Great Ways Auto”) which is a corporation doing business in
Redford, Michigan and Which by statute and condition of licensing, may be served
through its irrevocable resident agent, the Bureau of Regulatory Services, Business
Licensing and Regulation Division, Richard H. Austin Buildjng - 3rd Floor, 430 W.

A]legen Street, Lansing, MI 48918.

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b. Credit Acceptance Corporation (“Credit Acceptance Corporation”), which is a
corporation doing business in Michigan, and whose resident agent, CSC - Lawyers
Incorporating Service (Company), maintains its oHice at 601 Abbot Road, East
Lansing, M[ 48823.

At all relevant times Great Ways Auto -- in the ordinary course of its business -- regularly

extended or offered consumer credit for which a inance charge is, or may be imposed or

which, by written agreement is payable in more than four installments and is the person to

Whom the transaction which is the subject of this action is initially payable

Great Ways Auto is a creditor under T[LA, 15 U.S.C. § 1602(g) and regulation Z §

226.2(a)(17).

w
The transactions and occurrences which give rise to this action occurred in Wayne County.
Venue is proper in the Eastern District ofMichigan.
GENERAL ALLEGATIONS

On or about Septernber 1 2, 20 1 7, Plaintiff executed a purchase and finance agreeth known

as a retail installment contract with Great Ways Auto for a 2014 Jeep Compass, VlN

1CN.TCBA8ED531747 (“the vehicle”).

Prior to signing the retail installment contract, Great Ways Auto failed to provide the

Plaintiff with a copy of Truth in Lending disclosures which she could have and keep.

Great Ways Auto had Plaintiff sign an “e-document” which prevented Plaintiff`£:om seeing

any Truth in bending disclosures

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Great Ways Auto failed to provide Plaintiff with any paperwork when she “esigned” and

failed to provide Plaintiff any paperwork when she left with the vehicle.

The retail installment contract is currently held by 'or was assigned to Credit Acceptance

Corporation.

Under M.C.L. § 492.1 l4a, Credit Acceptance Corporation is subject to all claims and

defenses that arise against the seller for the sale of the vehicle, and is jointly liable to the

extent of any payments received from Ms. Scott.

Before executing the retail installment contract, Great Ways Auto made the following

material representations ("material representations") which also constituted express

warranties, were false, and related to the vehicle:

a. That credit was extended by Great Ways Auto;

b. That the credit extended by Great Ways Auto was not conditional upon Great Ways
Auto being able to assign the retail installment sales contract;

c. That Plaintiff was the owner of the vehicle when she took delivery;

d. Tha`t the vehicle came with the balance of the manufacturer’s warranty; and

e. That Great Ways Auto would transfer title to the Plaintift`.

Before executing the purchase agreement Great Ways Auto made the following specific

representations which constituted express warranties:

a. That credit was extended by Great Ways Auto;

b. That the credit extended by Great Ways Auto was not conditional upon Great Ways
Aqu being able to assign the retail installment sales contract;

c. That Plainnii` was the owner of the vehicle when she took delivery;

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d. That the vehicle came with the balance of the manufacturer’s warranty; and
e. That Great Ways Auto would transfer title to the Plaintiil`.

16. The vehicle did not meet Great Ways Auto's specific representations which constituted
express warranties

17. Great Ways Auto disclaimed or limited the warranty of merchantability and iitness for use
without doing so clearly and conspicuously.

18. The vehicle constitutes a “good” under article 2 of the UCCs M.C.L= §440‘2101 et seq.

19. When Plaintiii` drove off the lot with the vehiclc, it began to malfunction 20 minutes
afterward stalling and burning oil and the vehicle would not go more than 50 miles per hour.

20. The same day she took delivery, the vehicle became unsafe to drive.

21. The next day, the vehicle would not run at all.

22. Plainti.tft` contacted Great Ways Auto every day for the first week after she took delivery and
inquired about the manufacturer’ s warranty but Great Ways Aqu told her to bring the vehicle
in to Great Ways Auto.

23. Plaintiff explained that the vehicle would not run and Great Ways Auto refused to come pick
up the vehicle.

24. Eachtime Ms. Scott learned ofa mechanical defect, she promptly notiiied Great'Ways Auto
of that defect

25. Based on the hequency of breakdown the vehicle's time out of service, the severity of the
mechanical failures, the cost of warranty coverage, and amount of other expenses incurred
during the limited time of ownership of the vehicle, the vehicle has been rendered

unmerchantable, unfit, and of diminished value to Ms. Scott

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26. The value of the vehicle as delivered to Ms. Scott was less than the value as warranted

27. Ms. Scott properly rescinded, canceled, or otherwise terminated the contract of sale, thereby
requiring Great Ways Auto to return of all payments for the vehicle, cancel the security
interest in the vehicle, and return the motor vehicle retail instalment sales contract

COUNT I -- Truth In Lending Act iGreat Ways Auto|

28. Ms. Scott incorporates the preceding allegations by reference

29. By failing to provide Ms. Scott with a copy of truth in lending disclosures at the time and
in the manner prescribed by RegulationZ of the Truth in Lending Act', the dealerhas violated
the federal Truth in bending Act, 15 U.S.C. § 1601.

30. Cireat Ways Auto failed to accurately disclose the applicable finance charge as required by
15 U.S.C. § 1638 and Reg Z § 226.18(d)

31. Great Ways Auto failed to accurately disclose and itemize the amount financed in violation
of 15 U.s.c. § 1638, Reg z § 226.1s(b), aaa Reg z § 226.18(¢).

32. As a consequence of failing to accurately state the actual finance eharge, Great Ways Auto
also misstated the applicable "APR" in violation of 15 U.S.C. § 1338 and Reg Z § 226.18(e).

33. Great Ways Auto failed to accurately disclose the applicable "APR" as required by 15
U.S.C. § 1638; Reg Z § 226.18(32); Reg Z § 226.22.

34. Great Ways Auto was required to make the disclosures required by 16 U.S.C. § 1638 prior
to failed to prior to consummating the sale of the vehicle

35. Those disclosures were required to be made in writing, in form that could be kept by the

consumer so that consumers may shop for credit prior to engaging in a credit transaction

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Great Ways Auto failed to make those disclosures in a timely fashion in violation of 15
U.S.C. § 1638(a)(4).
Great Ways Auto is liable to plaintiff for actual and statutory damages to be determined at
trial, costs, and statutory attorney fees in accordance with 15 U.S.C. § 1640.

COUNT ll -- Egual Credit Opportunity Act fGreat Ways Auto|
lncorporate one the preceding allegations by referencel
Great Ways Auto is a creditor for purpose of the Equal Credit Opportunity Act (“ECOA”),
15 U.S.C. § 1691 et seq.
Following the receipt of the complete application for ctedit, Great Ways Auto was required
to make a credit decision within 30 days.
Great Ways Auto took adverse action for purposes of the ECOA.
Great Ways Auto was otherwise required to provide an adverse action notice.
Great Ways Auto failed to issue the adverse action notice as required by the ECOA.
Great Ways Auto has inadequate policies or procedures in place to comply with the ECOA‘s
adverse action notice requirements
This failure to issue an adverse action notice constituted a wiliirl violation of the ECOA, 15
U.S.C. § 1691 by Great Ways Auto.
Great Ways Auto has failed to maintain proper records of its credit actions in violation of the
ECOA.
This failure to properly maintain records constituted a wilful violation of the ECOA, 15
U.S.C. § 1691 et seq. by Great Ways Auto.

Plaintiff has suE`ered damages by this violation of ECOA.

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COUNT l]] - Magg_gson-Moss Warrantv AcL

{Great Ways Auto and Credit Acceptance Corporationl
Ms. Scott incorporates the preceding allegations by reference
Scott is a consumer as deiined in 15 U.S.C. §2301(3).
As a seller of motor vehicles, Great Ways Auto was obligated to comply with the FTC buyers
guide rule promulgated under the Magnuson Moss Warranty Act, 15 C.F.R. 455 .1 et seq
Under the buyers guide rule, Great Ways Auto was required to a.fEx the buyers guide to the
car prior to the sale of the vehicle to Ms. Scott's .
Great Ways Auto failed to affix the buyers guide to the car prior to the sale of_the vehicle to
Ms. Scott's , thereby violating the buyers guide rule.
ln the FTC buyers guide, Great Ways Auto affirmatively stated that it was giving no
warranties
Under the buyers guide rule, 16 C.F.R. §455.4, Great Ways Auto may not make any oral
representations contrary to the final terms incorporated into the buyer's guide.
The oral representations made by Great Ways Auto are contrary to the terms stated in the
buyers guide, and therefore violate 16 C.F.R. §455.4 and constitute an unfair or deceptive
practice under 15 U.S.C. 2301 et seg.
Under 15 U.S.C. §2301(a)(l), Great Ways Alrto, must remedy any defect, malfunction or
nonconformance of the subject vehicle as a warrantor of the vehicle.
Great Ways Auto has violated 15 U.S.C. §2304(d) by failing to provide the required remedy

for the failtn'e to honor a written warranty.

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59. Ms. Scott has suffered damages as a result of these breaches of warranty and failure to
provide a remedy under 15 U.S.C. §2304(d).
60. Ms. Scott sujfers continuing damages as a result of these breaches of warranty and failure

to provide a remedy under 15 U.S.C. §2304(d).

COQ§I 12 - Violation of M‘chigan Consumer Pm' tection Act
rent t and dit cce tancc Co oration

61 . Ms. Scott incorporates the preceding allegations by reference

62. Great Ways Auto is engaged in trade or commerce as that term is defined in M.C.L. §
445.902.

63. Great Ways Auto has engaged in one or more of deceptive or unfair practices prohibited by
the Michigan Consumer Protection Act, M.C.L.§ 445.903, including but not limited to the
following:

a. Causing aprobabiiity of confusion or misunderstanding as to the source, sponsorship,
approva`l, or certification of goods or services.

b. Using deceptive representations or deceptive designations of geographic origin in
connection with goods or services

c. Representing that goods or services have sponsorship, approval, characteristics
ingredients, uses, beneiits, or quantities that they do not have or that a person has
sponsorship, approval, status, affiliation or connection that he or she does not have.

d. Representing that goods are new if they are deteriorated altered, reconditioned, used,

or secondhand

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e. Representing that goods cr services are cfa particular standard, quality, or grade, or
that goods are cfa particular style or model, if they are of another.

f. Maldng false or misleading statements of fact concerning the reasons for, existence
of, or amounts of price reductions

g. Representing that a part, replacement or repair service is needed when it is not.

h. R.epresentl'ng to a party to whom goods or services are supplied that the goods or
services are being supplied in response to a request made by cr on behalfcfthe party,
when they are not.

i. Causing a probability of confusion or of misunderstanding with respect to the
authority of a Salesperson, representative, or agent to negotiate the final terms of a
transaction

j. Causing a probability of confusion or of misunderstanding as to the legal rights,
obligations, or remedies cfa party to a transaction

k. Causing a probability of confusion or of misunderstanding as to the terms or
conditions of credit if credit is extended in a transaction

1. Disclaiming or limiting the implied warranty of merchantability and fitness for use,
unless a disclaimer is clearly and conspicuously disclosed

m. R.epreeenting that a consumerwillreceive goods or services "free", "without chargc“,
or words of similar import without clearly and conspicuously disclosing with equal
prominence in immediate conjunction with the use of those words the conditions,

terms, or prerequisites to the use or retention of the goods or services advertised

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n. Failing to reveal a material fact, the omission of which tends to mislead or deceive
the consumer, and which fact could not reasonably be known by the consumerl

o. Entering into a consumer transaction in which the consumer waives or purports to
waive a right, beneht, or immunity provided by law, unless the waiver is clearly
stated and the consumer has specifically consented to it.

p. Failing, inaconsumertransactionthatisrescinded, canceled, or otherwise terminated
in accordance with the terms of an agreement, advertisement representation, or
provision of law, to promptly restore to the person or persons entitled to it a deposit,
down payment, or other payment, or in the case of property traded in but not
available, the greater of the agreed value or the fair market value of the property, or
to cancel within a specified time or an otherwise reasonable time an acquired security
interest.

q. Talring or arranging for the consumer to sign an acknowledgment certificate, or other
writing aflinning acceptance, delivery, compliance with a requirement of law, or
other performance, if the merchant knows or has reason to know that the statement
is not true.

r. Gross discrepancies between the oral representations of the seller and the written
agreement covering the same transaction or failure of the other party to the
transaction to provide the promised benefits

s. Charging the consumer a price that is grossly in excess of the price at which similar

property or services are sold.

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t. Causing coercion and duress as the result of the time and nature of a sales
presentation
u. Making a representation of fact or statement of fact material to the transaction such
that a person reasonably believes the represented or suggested state of affairs to be
other than it actually is.
Ms. Scott has suffered damages as a result of these violations of the Michigan Consumer
Protection Act.
Ms. Scott suffers continuing damages as a result of these violations of the Michigan
Consumer Protection Act.
COUNT V - M.isrepresentation
lGreat Ways Auto and Credit Acceptance Corporation[
Ms. Scott incorporates the preceding allegations by reference
The material representations were intended to induce the reliance of Ms. Scott.
The material representations did induce the reasonable reliance of Ms. Scott.
Great Ways Auto made the material representations with actual knowledge of their falsity.
Great Ways Auto made the material representations with reckless disregard to their truth or
falsity.
Great Ways Auto made the material representations even though it should have known that
they were false.
These actions constitute a misrepresentation upon Ms. Scott by Great Ways Auto.
Ms. Scott has suffered damages as a result of this misrepresentation

As a result of this misrepresentation, Ms. Scott suHers continuing da:mages.

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jGreat Ways Auto and Credit Acceptance Corporation}
Ms. Scott incorporates the preceding allegations by referencel
Great Ways Auto's tender of the performance did not conform as a result of the vehicle's
mechanical defects, lack of merchantability, or fitness for intended purpose which existed
at the time of delivery.
The failure of Great Ways Auto to deliver conforming goods, title, and follow up Services
at the contract price constitutes a material breach of contract
Ms. Scott has suffered damages as a result of this breach of contract
Ms. Scott su:&`ers continuing damages as a result of this breach cf contract.
COUNT V[[ --_ Repudiation
{Great Ways m and Q;Qit Acceptance Corporag°on)
Ms. Scott incorporates the preceding allegations by reference
There remain executory obligations relating to the purchase of the vehicle
Ms. Scott demanded assurances ofGreat Ways Auto's performance in the demand letter sent
to Great Ways Auto.
Great Ways Auto failed or refused to provide assurances of its performance consistent with
its obligations
Great Ways Auto's failure to provide assurances of its performance constituted a repudiation
of its contract with Ms. Scott.
Ms. Scott has suffered damages as a result of this repudiationl

Ms. Scott suffers continuing damages as a result of this repudiation

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COUNT VIII - UCC Revoc:_l§gr Of Acceptance
(Great Wa}§ Auto and Credit Acceptance Corporationl

Ms. Scott incorporates the preceding allegations by reference

'Ihe nonconformity of the vehicle could not have been reasonably discovered by Ms. Scott
at the time Great Ways Auto tendered delivery.

Ms. Scott would not have accepted the vehicle had Scott known that the vehicle was
nonconforming

Great Ways Auto has not made its tender of delivery conforming
Ms. Scott sent notice of revocation within a commercially reasonable time.
Ms. Scott has suifered damages as a result of this failure to provide a conforming tender or
return of purchase price nder revocation of acceptance

Ms. Scott suffers continuing damages as a result of this failure to provide a conforming
tender or return of purchase price after revocation of acceptancel

COUNT ]X - Motor Vehiele Sales Finance Act
(Great Ways Auto and Credit Agg=eptance Corporationl

Ms. Scott incorporates the preceding allegations by reference.

This claim is brought under the Michigan Motor Vehicle Sales Finance Act, M.C.L.
§492. 101 et seg, which will be referred to as the MVSFA throughout the remained of this
complaint

Great Ways Auto failed to properly complete all necessary terms of the installment contract

as required by M.C.L. §492.101 et seq.

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Ms. Scott have suifered the damages set forth above by reason of the Great Ways Auto’s

violations of the MVSFA.

COUNT X -- Motor Vehicle Installment Sales Contract Act
jGreat Ways Auto and Credit Acceptance Comoration|

Ms. Scott incorporates the preceding allegations by reference

This claim is brought under the Michigan Motor Installment Sales Contract Act, M.C.L. §
566.301 et seq, Wbich will be referred to as the MVISCA throughout the remainder of this
complaint

Great Ways Auto failed to properly complete all necessary terms of the installment contract
as required by M.C.L. § 566.302 er seq.

Great Ways Auto failed to properly complete all necessary terms of the installment contract
as required by M.C.L. § 566.302 et seq.

Ms. Scott suffered damages in the amount of the finance charge imposed

COUNT XI - Motor Vehicle Code Violations
t a s Auto d Credit Acce tance ration

Ms. Scott incorporates the preceding allegations by reference

Great Ways Auto violated the Motor Vehicle Code.

Great Ways Auto failed to apply for title within 15 days of delivering the vehicle to Ms. Scott
as required by M.C.L. §257.235.

Great Ways Auto’s failure to effectively transfer title constituted a violation of M.C.L.

§257.235.

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107. Ms. Scott may void the contract of sale as a result Great Ways Auto’s violation of the Motor

Vehicle Code.

108. Ms. Scott may void the contract of sale as a result Great Ways Auto’ s violation of the Motor

Vehicle Code under M.C.L. §257.25 1.

UEST FOR RELIEF

Plaintiff requests that this Honorable Court grant the following relief:

1.

2.

Award actual damages.
Rescission.
Award statutory damages.
Award statutory costs and attorney fees.
Respeotfully Submitted,

ADAM G. T - U.B & ASSOCIATES

 

Attorney for Arricka Scott

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Phone: (248) 746-3790

Email: adamgtaub@clgplc.net

Dated: January 9, 2018

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